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                 EXHIBIT B-065
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                 IN THE SUPERIOR COURT OF FULTON COUNTY                      FILED IN OFFICE
                             STATE OF GEORGIA
 In re: May 2022 Special Purpose                                                A            22
 Grand Jury
                                                                         IDCPUTY C


                                                    CASE NO. 2022-EX-000024
                                                                                               R COURT
                                                                               FUL iON COLHHY, GA

 V.




   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in Courtroom
SD in order to Orecord images and/ or [8]sound during all or portions of the
proceedings in the above captioned case/calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): [8]computer of any size, including a
tablet, a notebook, and a laptop; [8]smart phone, a cell phone or other wireless
phone; 1:8]still camera D any similar devices __ .

The proceedings   that the undersigned desires to record commence on (date and
tinie)August 25. Subject to direction from the court regarding possible pooled
coverage, the undersigned wishes to use this device in the courtroom on (date and
time)August   25.

The personnel       who will be responsible    for the use of this recording device are:
(identify appropriate personnel or individual)Richard   Fausset, Sean Keenan, &/ or
Danny Hakim.

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.


                                                                                       1
For questions or concerns email pio@fultoncountyga.gov
Rule 22 (Rev. 04/01/ 18)
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The New York Times / Richard Fausset, national correspondent
(News Agency/Media Outlet/Law Firm/Individual Representative)

  richard.fausset@nytimes.com
(Email Address)

917.803.3529
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


              The requesting agency:
                            be pool for its media
                      ~Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom other
than that for which permission is given. The undersigned understands         and
acknowledges that a violation of Rule 22 and any guidelines issued by the court
may be grounds for removal or exclusion from the courtroom and a willful
violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 23 rd day of August 2022.



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                               f Superior Court of Fulton Co
                                 Atlanta Judicial Circuit




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For questions or concerns email pio@fultoncountuqa.gov
Rule 22 (Rev. 04/01/ 18)
